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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,        :
                                 :
                                 :
    v.                           :
                                 : Criminal No. 2:20-cr-200-RBS
TEVA PHARMACEUTICALS USA, INC. :
and GLENMARK PHARMACEUTICALS :
INC., USA,                       :
                                 :
                     Defendants. :




          DEFENDANT TEVA PHARMACEUTICALS USA, INC.’S
         MOTION FOR DISCLOSURE OF EVIDENCE PRESENTED
         TO THE GRAND JURY AS TO “OTHER GENERIC DRUGS”
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I.     INTRODUCTION

       In August 2020, the Grand Jury returned the Second Superseding Indictment (“SSI”),

charging Teva Pharmaceuticals USA, Inc. (“Teva”) with three counts of conspiracy to restrain

trade in violation of the Sherman Act. Each count alleges that Teva conspired with different

competing pharmaceutical manufacturers, about different generic drugs, using different forms of

supposed anti-competitive conduct. The SSI explicitly alleges three different conspiracies in three

distinct counts. The three counts in the SSI name five separate conspirators and eleven generic

drugs that were the subject of alleged agreements to fix prices, rig bids, or allocate customers.

       The allegations in each count of the SSI are narrow and specific as to the nature of each

alleged conspiracy. Nonetheless, the government has now informed Teva that, at trial, it intends

to expand upon the allegations in the SSI both by asserting the existence of conspiracies the Grand

Jury did not charge in the SSI and by attempting to prove that Teva conspired to restrain trade for

specific drugs the SSI never mentions.

       But to prosecute an antitrust conspiracy against Teva, the government must identify the

scope of the conspiracy. This includes defining the product market or markets (i.e., the specific

drugs) that the alleged conspirators agreed to manipulate. Furthermore, the Constitution requires

that “[n]o person shall be held to answer for a capital, or otherwise infamous crime, unless on a

presentment or indictment of a Grand Jury.” U.S. Const. Amend. V. “A court cannot permit a

defendant to be tried on charges that are not made in the indictment against him.” Stirone v. United

States, 361 U.S. 212, 217 (1960).

       The government’s conduct here—including its apparent intent to introduce evidence at trial

as to conspiracies not charged, and drugs not referenced, in the SSI—suggests significant

irregularities in the grand jury process, such that the SSI may be subject to a motion to dismiss in

full or in part. Accordingly, and for two distinct but related reasons, Teva has a particularized
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need to review a narrow slice of the evidence the government presented to the Grand Jury

concerning the alleged generic drugs that the government asserts were the subject of each of these

distinct conspiracies but were not identified in the SSI. First, Teva needs access to these limited

materials to determine the appropriateness of a motion to dismiss the SSI for failing to allege

sufficiently the market or markets that were supposedly the subject of a wrongful agreement.

Second, given the government’s planned deviation from the SSI, it is likely that the government

intends to try Teva for crimes that the government never actually presented to the Grand Jury.

       The interests of justice supporting Teva’s narrow request for disclosure far outweigh any

competing concerns with grand jury secrecy. Teva is not on a fishing expedition seeking access

to irrelevant Grand Jury transcripts. Nor is Teva seeking to learn the identity of any witness who

testified before the Grand Jury. Moreover, there is no reason to believe that the Grand Jury is still

investigating Teva long after any applicable statute of limitations period has ended.

II.    FACTUAL BACKGROUND

       A.      The SSI and the Three Alleged Conspiracies

       On August 25, 2020, the Grand Jury returned the three-count SSI, naming Teva as a

defendant for the first time. ECF No. 28. The SSI alleged three separate conspiracies to engage

in anticompetitive activity.      Count One charges Teva with conspiring with Glenmark

Pharmaceuticals Inc., USA (“Glenmark”) and Apotex Corp. (“Apotex”) “to increase and maintain

prices of pravastatin and other generic drugs sold in the United States.” Id. at ¶ 20 (emphasis

added). Count Two charges Teva with conspiring with Taro Pharmaceuticals U.S.A., Inc. (“Taro”)

“to allocate customers and rig bids for, and stabilize, maintain, and fix prices of” the generic drugs

carbamazepine, clotrimazole, etodolac IR and ER, fluocinonide, and warfarin, “among others.”

Id. at ¶¶ 36, 39 (emphasis added). Finally, Count Three charges Teva with conspiring with Sandoz

Inc. (Sandoz”) “to allocate customers and rig bids for, and to stabilize, maintain, and fix prices of”

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the generic drugs etodolac IR, nadolol, temozolomide, and tobramycin, “among others.” Id. at ¶¶

48, 53 (emphasis added).

       Importantly, the SSI alleges Teva engaged in different anti-competitive conduct relating to

different specific drugs. For example, with regard to pravastatin, in Count One the SSI alleges

that Teva, Glenmark, and Apotex coordinated to increase the drug’s price, but with regard to

tobramycin, in Count Three it alleges that Teva and Sandoz reached an agreement to allocate

customers among the two companies. Id. at ¶¶ 22–25, 51.

       B.      The Government Informs Teva That It Will Seek to Prove the Charged
               Conspiracies Involved Many More Drugs than Those Charged in the SSI

       To date, the government has produced more than 23 million records to Teva in discovery.

The SSI’s vague references to “other” drugs dramatically increased the significant time and

expense necessary to review this extraordinary volume of discovery. Thus, on April 14, 2021,

Teva wrote the government requesting confirmation that the conspiracies alleged in Counts One,

Two, and Three “only concern the generic drugs specifically named in each of those respective

counts.” See Exhibit 1 at 2. Far from giving that confirmation, the government replied on April

27, 2021 disclosing a list of twenty-one additional drugs (“newly identified drugs”) not identified

in the SSI that the government said were the subject of the three conspiracies alleged in the SSI.

See Exhibit 2 at 2.1 And despite providing this list of nearly two dozen new drugs, the government

advised that its evidence is still “not limited to” the now over thirty drugs either identified in the


1   The drugs named in the April 27, 2021 letter not identified in the SSI include: adapalene gel,
    fluconazole, levocetirizine, moexipril, nabumetone, ondansetron, and ranitidine for Count
    One; adapalene gel, enalapril, ketoconazole cream, and nortriptyline for Count Two; and
    amiloride, bumetanide, clemastine, dicloxacillin, fluocinonide, hydralazine, ketoconazole
    cream, labetalol, nabumetone, and triazolam for Count Three. It is confounding that, during
    more than twenty interviews with its cooperating witness, the government did not even ask
    about some of the newly identified drugs that the government claims were the subject of the
    conspiracies.


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SSI or the April 27, 2021 letter, suggesting that the government could later decide that the

conspiracies involved yet additional drugs, above and beyond the thirty already identified. This

expansion of the set of potentially relevant drugs is especially concerning for Teva since during

the relevant period identified in the SSI Teva sold more than 400 generic drug-formulations.

       On July 6, 2021, Teva wrote the government again, requesting that it “produce any and all

grand jury transcripts that relate to the unnamed ‘other’ generic drugs referenced in each of the

three counts of the [SSI].” See Exhibit 3 at 1. Teva’s letter advised that “the [government]’s vague

statement that it ‘may also introduce evidence relating to the other [twenty-one] drugs to further

establish the existence of the charged conspiracies and the relationship between the co-

conspirators’ is insufficient to provide Teva with appropriate information as to how evidence

relating to those drugs may ultimately be used at trial.” Id. That is particularly true given that the

government has produced over 23 million documents in discovery.

       On August 6, 2021, the government responded, refusing to disclose any grand jury

evidence or other materials and asserting both that “the [SSI] clearly charged conduct beyond the

specifically named drugs” and that identifying twenty-one additional drugs “did not expand the

scope of the [SSI].” See Exhibit 4. The government further said, “[t]o the extent grand jury

transcripts contain material that is discoverable, they will be produced pursuant to district

practice.” Id. While there is no written district practice concerning the production of grand jury

transcripts in the Eastern District of Pennsylvania, the United States Attorney’s Office typically

produces transcripts of witness testimony before the grand jury. Nonetheless, here the government

has persisted in its refusal to produce these transcripts.

       C.      The Government Tells Teva It Will Assert Conspiracies Not Charged in the SSI

       On July 1, 2021, Glenmark filed a Motion for Misjoinder and Severance, arguing that

Count One should be severed from the other Counts because “[i]t would be unduly burdensome
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and prejudicial to subject Glenmark to a joint trial . . . in which the majority of proof would relate

to Counts Two and Three rather than the charge against Glenmark.” ECF No. 105 at 1. In

opposing this motion, the government argued: (a) the conspiracy charged in Count One overlapped

with the conspiracy charged in Count Two because Teva and Glenmark executives conspired to

restrain trade in the drug adapalene, and then Teva and Taro executives also conspired to restrain

trade in adapalene; and (b) the conspiracy charged in Count One overlapped with the conspiracy

charged in Count Three because Teva and Glenmark executives conspired to restrain trade in the

drug nabumetone, and then Teva and Taro executives also conspired to restrain trade in

nabumetone. ECF No. 116 at 5. Importantly, however, these “newly identified conspiracies” do

not appear anywhere in the SSI. The government effectively proffered that Teva was at the center

of a hub-and-spoke conspiracy even though the SSI alleges no such thing. No Count in the SSI

even mentions the drugs adapalene or nabumetone.

       On February 1, 2022, Glenmark filed a Motion for Limited Disclosure of Evidence

Presented to the Grand Jury as to “Other Generic Drugs” (“Glenmark’s Grand Jury Motion”). That

motion sought “disclosure or inspection of the specific portions of any testimony or exhibit

actually presented to the Grand Jury about generic drugs other than pravastatin with respect to

Glenmark and Count One” or, in the alternative, in camera inspection of such materials. ECF No.

148 at 2. While seeking similar relief, Glenmark’s motion differs from this motion because

Glenmark is only named as a defendant in Count One and therefore seeks disclosure of the Grand

Jury evidence relevant to “other generic drugs” to fairly assess whether any evidence of other drugs

actually concerned the single Count in which it is charged.




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III.   LEGAL STANDARD

       The Grand Jury Clause of the Fifth Amendment establishes that “[n]o person shall be held

to answer for a capital, or otherwise infamous crime, unless on a presentment or indictment of a

Grand Jury.” U.S. Const. Amend. V. The grand jury determines “whether there is probable cause

to believe a crime has been committed” and protects “citizens against unfounded criminal

prosecutions.” United States v. Calandra, 414 U.S. 338, 343 (1974). “A court cannot permit a

defendant to be tried on charges that are not made in the indictment against him.” Stirone v. United

States, 361 U.S. 212, 217 (1960).

       Under Federal Rule of Criminal Procedure Rule 6(e)(3)(E)(ii), a court may order disclosure

of grand jury materials “at the request of a defendant who shows that a ground may exist to dismiss

the indictment because of a matter that occurred before the grand jury.” A defendant seeking

disclosure of grand jury information must show “a particularized need for that information which

outweighs the public interest in secrecy.” United States v. McDowell, 888 F.2d 285, 289 (3d Cir.

1989) (citing United States v. Proctor & Gamble Co., 356 U.S. 677, 683 (1958)). In discussing

the policy interests supporting grand jury secrecy, the Supreme Court has written:

       First, if preindictment proceedings were made public, many prospective witnesses
       would be hesitant to come forward voluntarily, knowing that those against whom
       they testify would be aware of that testimony. Moreover, witnesses who appeared
       before the grand jury would be less likely to testify fully and frankly, as they would
       be open to retribution as well as to inducements. There also would be the risk that
       those about to be indicted would flee, or would try to influence individual grand
       jurors to vote against indictment. Finally, by preserving the secrecy of the
       proceedings, we assure that persons who are accused but exonerated by the grand
       jury will not be held up to public ridicule.”

Douglas Oil Co. v. Petrol Stops Nw., 441 U.S. 211, 222 (1979).

       “The defendant’s request for disclosure must be ‘structured to cover only material so

needed.’” United States v. Chalker, Crim. Action No. 12-0367, 2013 U.S. Dist. LEXIS 122018,

at *14 (E.D. Pa. Aug. 27, 2013) (Surrick, J.) (quoting In re Grand Jury Matter (Catania), 682 F.2d
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61, 62 (3d Cir. 1982)). Following a showing of particularized need, the Court “must weigh the

competing interests and order so much disclosure as needed for the ends of justice.” Id. (quoting

Catania, 682 F.2d at 62).

IV.    ARGUMENT

       The government has obtained an indictment charging Teva with three counts of conspiracy

to restrain trade in violation of the Sherman Act. The SSI alleges three distinct conspiracies, each

involving different co-conspirators, different drugs, and different forms of anti-competitive

conduct, including price fixing and bid rigging. Despite the clear and limited language of that

indictment, the government has now added nearly two dozen additional drugs found nowhere in

the SSI which it contends were the subject of these same conspiracies. The government also claims

that rather than three distinct conspiracies as charged in the SSI, it now apparently intends to try

to prove one overarching hub-and-spoke conspiracy with Teva as its center.

       As a result, Teva has a particularized need for disclosure of the evidence the government

presented to the Grand Jury concerning the scope of the charged conspiracies and the specific

drugs that were the subject of the charged conspiracies. Given the government’s intention to

deviate from the text of the SSI, Teva is entitled to determine if the Grand Jury properly charged

Teva with antitrust conspiracies involving those drugs. A fair balancing of the competing interests

plainly favors Teva’s narrow request for disclosure of evidence presented to the Grand Jury on this

specific issue. Of course, should this Court feel it more appropriate, it may examine the relevant

Grand Jury evidence in camera. Either way, Teva has articulated a particularized need, pursuant

to Rule 6(e)(3)(E)(ii), justifying the opportunity to assess whether the government is attempting to

try Teva for crimes that it never actually presented to the Grand Jury.




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       A.      Teva Has a Particularized Need for Disclosure of Evidence
               Presented to the Grand Jury Concerning “Other Generic Drugs”

       The government contends that the SSI’s inclusion of the phrases “among other drugs” and

“other generic drugs” means that it can assert, at trial, that Teva conspired to restrain trade for any

drug the government decides to include in its trial presentation. That is not the law.

       Charging a defendant with conspiracy to restrain trade in violation of the Sherman Act

requires alleging a wrongful agreement to manipulate a market for a specific good or service. “An

agreement ‘to rig bids wherever and whenever possible’ is meaningless for Sherman Act purposes

unless there are in the real world of the marketplace some ‘whens’ and ‘wheres.’” United States

v. Sargent Elec. Co., 785 F.2d 1123, 1127 (3d Cir. 1986). As such, an alleged agreement is

insufficient if it fails to identify the market that has been unlawfully manipulated. Queen City

Pizza v. Domino's Pizza, 124 F.3d 430, 435 (3d Cir. 1997).2

       Appropriate product markets are defined by the interchangeability of the items that

comprise them. For instance, one could conceive of a conspiracy to fix prices for certain kinds of

cars, but a conspiracy to fix the prices of all vehicles (including vehicles that don’t actually

compete with one another) would make no sense. Drugs are no different. Drugs used to treat

entirely different conditions cannot logically be considered interchangeable. To that end, courts

examining this issue in the context of drugs often limit those product markets to a single molecule

(a brand name drug and its generic alternative) or at most to drugs used in the same therapeutic

area. See, e.g., Mylan Pharms. Inc. v. Warner Chilcott Pub. Ltd. Co., 838 F.3d 421, 436 (3d Cir.

2016); In re Nexium (Esomeprazole) Antitrust Litig., 968 F. Supp. 2d 367, 389 (D. Mass. 2013).


2   Cases interpreting Section One of the Sherman Act in the civil context are equally applicable
    in the criminal context. United States v. Nippon Paper Indus. Co., 109 F.3d 1, 4 (1st Cir. 1997)
    (noting while interpreting Section One of the Sherman Act that “courts should interpret the
    same language in the same section of the same statute uniformly, regardless of whether the
    impetus for interpretation is criminal or civil”).
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       The fact that the government has alleged a per se violation of the Sherman Act does not

alter the analysis. The Third Circuit has made clear that “while the per se rule proscribes inquiry

into competitive effects, it does not excuse identification of relevant markets.” United States

v. Sargent Elec. Co., 785 F.2d 1123, 1127 (3d Cir. 1986) (emphasis added). And the Third Circuit

emphasized the point by noting the specific challenges that market definition poses in drafting

criminal antitrust indictments: “[b]ecause Sherman Act conspiracies involve a relevant market and

that market may vary over time, the government’s task in drafting indictments is somewhat more

complex than in other conspiracy contexts.” Id.

       The government seeks to turn this well-established antitrust law on its head.            The

government apparently believes that because, for instance in Count One, the SSI alleges a

conspiracy to restrain trade for the drug pravastatin, it can allege that this conspiracy extended to

undefined “other generic drugs” without identifying those drugs for the Grand Jury. This

effectively eliminates the government’s obligation to define a relevant market.

       The government’s “theory” suggests that the grand jury process resulting in the SSI likely

suffered from one of two problems. It may be that the government never introduced evidence of

some or all of the newly identified drugs that it now asserts are part of the “other generic drugs”

identified in Counts I–III and thus failed to identify the relevant markets in which Teva allegedly

restrained trade. This would serve to invalidate the indictment, in whole or in part. See United

States v. Williams, No. 4:08-cr-00070, 2013 U.S. Dist. LEXIS 45323, at *32 (M.D. Pa. Mar. 29,

2013) (“It is simply well-established law . . . that elements of a crime should be submitted to the

grand jury”) (quoting United States v. LeCroy, 441 F.3d 914, 921 (11th Cir. 2006)).

       Alternatively, the grand jury evidence may show that the government believes, incorrectly,

that the relevant market can include numerous generic drugs that treat entirely different ailments.



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But then the government’s proposed relevant market would be grossly overbroad, and the SSI

would be infirm for that entirely different reason. Again, product markets for antitrust purposes

include “those ‘commodities reasonably interchangeable by consumers for the same purposes.’”

Fineman v. Armstrong World Indus., 980 F.2d 171, 198 (3d Cir. 1992) (quoting United States v.

E.I. Du Pont de Nemours & Co., 351 U.S. 377, 395 (1956)). Courts consider “price, use and

qualities” as factors in determining the interchangeability of products in a relevant market. Id.

(quoting Du Pont de Nemours, 351 U.S. at 404). Generic drugs used to treat entirely different

medical conditions cannot reasonably be considered interchangeable. For example, if a consumer

were looking for pravastatin to treat a high cholesterol problem, carbamazepine—a drug used to

treat seizures—could not under any circumstance be considered an acceptable alternative.

       Teva’s concern is not unique. Antitrust litigants routinely (and often successfully) argue

that an alleged antitrust violation in the pharmaceutical industry is deficiently pled because it fails

to define an appropriate relevant market. Courts facing this issue have at times accepted product

markets consisting of only a branded drug, a branded drug and its generic substitutes, or competing

drugs used to treat a similar condition. No court has ever accepted a product market for antitrust

purposes as broad as the conspiracy the government seems to be claiming existed here.

       For example, in SmithKline Corp. v. Eli Lilly & Co., 575 F.2d 1056 (3d Cir. 1978), the

Third Circuit made clear that defining a product market to include a wide array of different drugs—

as the government seeks to do here—is inappropriate and untenable. The question in SmithKline

Corp. was whether the defined relevant market could include an antibiotic called cephalosporins

and antibiotics used to treat different infections.      The Court examined the differences and

similarities between the two groups of products to determine the scope of “the market where there

is true economic rivalry because of product similarity.” Id. at 1065. The Court rejected the



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defendant’s effort to define a product market consisting of all antibiotics because “there is neither

appropriate interchangeability, price sensitivity, nor cross-elasticity of demand in the broader

market of all antibiotics,” and the Court limited the relevant market to just cephalosporins. Id.

       The Second Circuit has taken a similar view, holding that the brand name drug Coumadin

and its generic alternative warfarin (one of the drugs specifically identified in the SSI) do not

compete within the same product market. Geneva Pharm. Tech. Corp. v. Barr Labs., Inc., 386

F.3d 485, 500 (2d Cir. 2004). If the generic drug warfarin, a blood thinner, is not even in the same

product market as its brand name drug, then surely the government cannot fairly claim that

warfarin is in the same product market as drugs, like carbamazepine that are used to treat entirely

different conditions.3 And indeed, Teva is aware of no decision in which a court has ever

recognized a product market as broad as the one claimed by the government here.

       Given these circumstances, Teva is entitled to review the evidence the government

presented to the Grand Jury to determine how the government defined the relevant market or

markets that were supposedly corrupted by Teva, and how, if at all, the generic drugs it now seeks

to rely upon were included as part of that market definition. That information will allow Teva to

determine if a motion to dismiss one or more of the Counts is warranted based on the government’s

failure to identify a proper relevant market.




3   Other courts have found it plausible for a relevant market to consist of a brand name drug and
    its generic alternative. See, e.g., In re Nexium (Esomeprazole) Antitrust Litig., 968 F. Supp.
    2d 367, 389 (D. Mass. 2013); In re Cardizem CD Antitrust Litig., 105 F. Supp. 2d 618, 680–
    81 (E.D. Mich. 2000), aff'd, 332 F.3d 896 (6th Cir. 2003). Significantly, the broadest relevant
    product markets involving drugs that courts have been willing to consider for antitrust purposes
    are still limited to only those prescribed to treat the same condition. See, e.g., Mylan Pharms.
    Inc. v. Warner Chilcott Pub. Ltd. Co., 838 F.3d 421, 436 (3d Cir. 2016) (affirming district court
    decision that relevant market consisted of all oral tetracyclines prescribed to treat acne).
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       B.      Teva Has a Particularized Need to Determine Whether the
               Government’s Alleged Conspiracies were Presented to
               the Grand Jury

       The SSI alleged three distinct conspiracies limited to specific drugs. The government,

however, now intends to prove an overarching conspiracy among the Counts that is not described

anywhere in the SSI and that includes numerous drugs mentioned nowhere in the SSI. For

example, Count One alleges that Teva, Glenmark, and Apotex coordinated to increase the price of

pravastatin. Now the government says that Teva and Glenmark also conspired to increase the price

of at least seven other drugs, including adapalene and nabumetone. The government also now

alleges, for the first time, that while conspiring with Glenmark to fix the price of adapalene, Teva

was also conspiring with Taro for the same purpose, and that while conspiring with Glenmark to

fix the price of nabumetone, Teva was also coordinating with Sandoz.

       There is nothing— in the 23 million plus records produced in discovery, or otherwise— to

suggest that the government actually presented evidence of these newly identified conspiracies to

the Grand Jury. And if the government actually presented evidence that Teva conspired to restrain

trade in the newly identified drugs, and engaged in other conspiracies besides those charged in the

SSI, then surely the government would actually have named those drugs and described those

conspiracies in the SSI. But of course, the government did not do so, and instead appears to seek

to expand and shift its theory against Teva, impermissibly after the return of the SSI. Teva needs

to know whether the government actually presented evidence to the Grand Jury of these newly

identified drugs and newly identified conspiracies so it has the opportunity to make appropriate

and timely dispositive motions.

       Only through a review of what the government actually presented to the Grand Jury can

Teva assess the potential infirmities in the SSI’s pleading of three distinct conspiracies, each with

their own separate conduct. Where, for example, do each of the newly identified drugs supposedly
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fit in those three charged conspiracies and what, if anything, was said to the Grand Jury about

those drugs? Does the SSI unfairly lump all types of different alleged agreements as to different

drugs into a single count? See, e.g., United States v. Haddy, 134 F.3d 542, 548 (3d Cir. 1998)

(“Duplicity is the improper joining of distinct and separate offenses in a single count.”).

       These questions are even more concerning given the government’s recent statements that

appear to claim the existence of an overarching hub-and-spoke conspiracy with Teva at its center.

Because of the sheer number of drugs as to which the government is now claiming it will present

evidence, it is more than very likely that they all do not squarely fit into the framework of the SSI’s

current allegations. Respectfully, Teva is entitled to know how, if at all, these issues were

addressed before the Grand Jury so it can bring an appropriate motion to dismiss if necessary,

consistent with its rights under the Grand Jury Clause of the Fifth Amendment. See, e.g., Sargent

Elec. Co., 785 F.2d at 1128 (noting that the court “must determine whether there was a conspiracy

aimed at a single relevant market or conspiracies aimed at several separate markets,” and finding

that “bid-rigging at different facilities constituted multiple Sherman Act offenses”).

       There is yet another problem here as well: the government’s reliance on the newly

identified drugs (and other yet unidentified generic drugs) could also create a constructive

amendment of the SSI, in violation of Teva’s constitutional rights. A constructive amendment

occurs when “the evidence and jury instructions at trial modify essential terms of the charged

offense in such a way that there is a substantial likelihood that the jury may have convicted the

defendant for an offense differing from the offense the indictment returned by the grand jury

actually charged.” United States v. Daraio, 445 F.3d 253, 259–60 (3d Cir. 2006). A constructive

amendment “is an exceptional category of error because it violates a basic right of criminal

defendants, the grand jury guarantee of the Fifth Amendment.” United States v. McKee, 506 F.3d



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225, 229 (3d Cir. 2007). Allowing the government to introduce evidence about other generic drugs

not specified in the SSI would, in effect, allow the government to prosecute Teva for antitrust

conspiracies beyond those presented to the Grand Jury—a clear risk of constructive amendment.

       United States v. Wozniak, 126 F.3d 105 (2d Cir. 1997), is particularly illustrative. There

the Court found a constructive amendment and vacated the conviction when the jury was allowed

to convict a defendant on the basis of marijuana transactions, but the indictment alleged only

cocaine and methamphetamine transactions. Id. at 111. See also United States v. Zingaro, 858

F.2d 94, 103 (2d Cir. 1988) (finding a constructive amendment where the jury considered evidence

of a loan not mentioned in the indictment as a basis for a RICO conspiracy conviction). Teva faces

the same danger here; it could be convicted based on conduct relating to drugs different than the

eleven actually identified in the SSI (and potentially the only ones that were the subject of Grand

Jury evidence). For instance, the government could successfully convince the jury to convict Teva

on Count One based on evidence that Teva conspired to fix the price of adapalene, despite the fact

that the government never presented such evidence to the Grand Jury.

       The “other generic drugs” language found in each Count of the SSI cannot be used as a

placeholder to allow the government to include new drugs and different conspiracies into the case

at its discretion.4 It would be no different than indicting a defendant on a charge of conspiring to




4   In its decision on Glenmark’s Motion for Misjoinder and Severance, the Court noted that “the
    fact that the Government now intends to bring evidence of other generic drugs . . . is in line
    with the indictment” given the inclusion of the “other generic drugs” language in the SSI, and
    that there was “no likelihood that Glenmark would be found guilty of an offense different than
    the one charged.” ECF No. 146 at 9–10 n.1. Not raised in that motion, however, was the
    unique nature of the antitrust violations charged here. As discussed above, antitrust law
    dictates that the government define the relevant product market(s) supposedly manipulated and
    identify the specific agreements reached as each product market. Allowing the government to
    introduce evidence of (and potentially obtain a conviction based on) other unspecified drugs is
    thus counter to this essential element of a Sherman Act violation.
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fix the price of beef, yet allowing the government, by referencing “beef and other food” in the

indictment, to rely on evidence the defendant fixed the price of oranges. The prosecutors drafting

the SSI well knew how to identify specifically any drugs that were subject to the alleged

conspiracies. Indeed, they did so in the SSI for eleven separate named drugs.

       C.      A Particularized Need Exists for the Relief Sought by Teva

       Courts in the Third Circuit have ordered the disclosure of grand jury transcripts where the

underlying circumstances demonstrated a particularized need. See e.g., United States v. Breslin,

916 F. Supp. 438, 440–441 (E.D. Pa. 1996) (disclosure of all grand jury testimony was warranted

due to potential prosecutorial misconduct, including the possibility that the defendants were

indicted on money laundering counts “not supported by any evidence presented to the grand jury”);

and United States v. Mahoney, 495 F. Supp. 1270, 1277 (E.D. Pa. 1980) (ordering disclosure after

the government failed to provide sufficient explanation of why the grand jury was only presented

with witness interview summaries).

       The government has provided no information as to what evidence it presented to the Grand

Jury, if any, regarding the newly identified drugs. If the government had presented such evidence

to the Grand Jury why wouldn’t it say so? Similar to Breslin, it is likely the government is seeking

to convict Teva on the basis of conspiracies that were not presented to the Grand Jury.

       Teva is not on a fishing expedition and not seeking all grand jury transcripts to determine

if there was some unspecified grand jury irregularity. See United States v. Slade, No. 12-0367,

2013 U.S. Dist. LEXIS 93382, at *4 (E.D. Pa. July 13, 2013) (Surrick, J.) (seeking “all” statements

and exhibits presented to the grand jury); United States v. Staton, No. 10-800, 2012 U.S. Dist.

LEXIS 79718, at *8 (E.D. Pa. June 8, 2012) (Surrick, J.) (defendant sought “an order compelling

disclosure of the minutes and testimony of all matters occurring before the grand jury”). Rather,

as stated above, there is a substantial basis to suspect a specific grand jury irregularity and Teva is
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seeking a narrow set of grand jury materials to assess whether that irregularity is dispositive at

least with respect to the newly identified drugs. Cf. United States v. Minerd, No. 08-2859, 299

Fed. Appx. 110, 111–12 (3d Cir. Nov. 14, 2008) (holding that a “vague allegation” of “fraud before

the grand jury” is insufficient to justify disclosure of grand jury materials).

       Teva’s motion is readily distinguishable from the cases in which courts have denied

motions for disclosure of grand jury materials. Teva has a clear particularized need. Because the

SSI fails both to properly define the relevant markets that were the subject of the supposedly anti-

competitive agreements and to disclose how the newly identified drugs (and those not even

identified yet) even fit in those alleged agreements, there is a substantial likelihood that the SSI

was “based on an improper theory” under antitrust law and is not “facially valid.” Cf. Chalker,

2013 U.S. Dist. LEXIS 122018, at *18–19.

       Further, unlike in United States v. Tucker and Staton respectively, Teva does not rely on

mere “[s]uggestions of impropriety and speculation” or simply offer “unsupported belief and

conjecture.” No. 05-440-10, 2011 U.S. Dist. LEXIS 46003, at *6 (E.D. Pa. Apr. 27, 2011)

(Surrick, J.); 2012 U.S. Dist. LEXIS 79718, at *14. Far from it, Teva has identified a “particular

event or irregularity that took place” when the government seemingly failed to define an

appropriate relevant product market and failed to identify all of the drugs as to which anti-

competitive agreements were allegedly reached in the SSI. Staton, 2012 U.S. Dist. LEXIS 79718,

at *12–13. As a result, Teva is entitled to review the evidence presented to the Grand Jury

regarding the newly identified drugs to determine whether to bring a motion to dismiss for those

significant reasons.




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       D.      The Balancing of Interests Favors Teva’s Narrow Request

       Following a showing of particularized need, the Court “must weigh the competing interests

and order so much disclosure as needed for the ends of justice.” Chalker, 2013 U.S. Dist. LEXIS

122018, at *14 (quoting Catania, 682 F.2d at 62). The Court is afforded considerable discretion

in balancing the interests of disclosure and secrecy. Id.; see also United States v. Bunty, 617 F.

Supp. 2d 359, 372 (E.D. Pa. 2008) (“The decision to permit disclosure [of grand jury transcripts]

is within the discretion of the trial court judge who must assess whether the need for disclosure

overbalances the requirements of secrecy.”) (quoting Mahoney, 495 F. Supp. at 1272). Teva’s

interest in the limited disclosure of evidence presented to the Grand Jury as to “other generic drugs”

outweighs any claimed need for secrecy.

       As discussed above, only through an examination of the Grand Jury minutes can Teva

safeguard its constitutional rights and understand what evidence, if any, was presented concerning

the other generic drugs and scope of the conspiracies of which the government claims those drugs

were a part. That will in turn allow Teva to assess whether the SSI fails to allege sufficiently the

relevant market(s) at issue, and whether the Grand Jury actually heard evidence concerning the

numerous drugs sufficient to support their inclusion in agreements underlying the charged

conspiracies. Moreover, this request is well defined and limited to the narrow particularized need

identified above. Cf. Slade, 2013 U.S. Dist. LEXIS 93382, at *13 (denying defendants’ motion to

inspect grand jury minutes where defendants did not identify any portion of the indictment

suggesting a charge made to the grand jury was erroneous).

       With respect to any competing interests, Teva is not seeking the identities of any third-

party witnesses who testified before the Grand Jury, only the evidence presented regarding the

twenty-one newly identified drugs and any other generic drugs not identified in the SSI. Redaction

of any witness identities, if necessary, can readily address any concern over the disclosure of
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witnesses who testified before the Grand Jury.5 Accordingly, Teva’s request does not implicate

any of the policies supporting grand jury secrecy. See Douglas Oil, 441 U.S. at 222. In addition,

any such disclosure would be subject to the Protective Order already in place, and the Court could

order any further restrictions it deems warranted (such as limiting review to attorneys).

        Moreover, there is no reason to believe that the Grand Jury is still investigating Teva’s

conduct that allegedly occurred from 2013–2015, significantly outside any applicable statute of

limitations. See 18 U.S. Code § 3282(a). Teva is unaware of any investigative activity currently

ongoing and the government has not identified any such activity. The law is clear that “[t]he need

for secrecy is lessened [when] the grand jury has completed its work.” United States v. Islam, No.

20-cr-00045, 2021 U.S. Dist. LEXIS 18162, at *6 (E.D. Pa. Jan. 29, 2021). In short, there is also

no reason to believe that the limited disclosure of the requested information would imperil any

ongoing investigation.

        Finally, should this Court have any remaining concerns with the secrecy of the requested

Grand Jury minutes, it can undertake an in camera review of such evidence to address Teva’s

concerns, as the Court did recently in Islam. See id. at 3–5, 7 (in camera review was appropriate

because the area of the law was in flux and the Grand Jury was necessarily required to draw fine

distinctions in deciding whether to indict).



5   The government’s interest in protecting the Grand Jury process is significantly diminished if
    the government solely presented law enforcement witnesses to the Grand Jury to testify about
    these issues. See Dale v. Bartels, 532 F. Supp. 973, 976 (S.D.N.Y. 1982) (“Reasons supporting
    secrecy where a private citizen testifies to the grand jury and thereafter there is no indictment,
    or the civilian witness does not testify at trial of a resulting indictment, do not in logic apply to
    a Government agent. A Government agent is not likely to be inhibited by subsequent disclosure
    in the sense that a businessman, victim of extortion or racketeering who testifies to the grand
    jury might be.”). In discovery, the government has already produced numerous memoranda of
    interview and other documents identifying the law enforcement officers involved in the
    investigation, and Teva expects that these same law enforcement officers will testify at trial or
    otherwise be present.
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V.     CONCLUSION

       For the foregoing reasons, Teva respectfully requests that, pursuant to Federal Rule of

Criminal Procedure 6(e), the Court order the government to disclose, or allow inspection of:

       the specific portions of any testimony or exhibits presented to the Grand Jury
       concerning the twenty-one newly identified drugs the government identified in its
       letter of April 27, 2021 and any other generic drugs not identified in the Second
       Superseding Indictment, redacted to remove the identities of any witnesses who
       testified before the Grand Jury.

In the alternative, the Court should order an in camera inspection of such evidence to allow the

Court to consider the concerns with the Grand Jury presentation raised by Teva in bringing this

motion.



Dated: April 1, 2022                             Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       I, R. Stephen Stigall, do hereby certify that I have served a true and correct copy of the

foregoing document upon all counsel/parties by electronic filing on April 1, 2022. This document

has been filed electronically and is available for viewing and downloading from the ECF system.



                                                        /s/ R. Stephen Stigall
                                                        R. Stephen Stigall
